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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                     )               Chapter 11
                                           )
SS Body Armor I, Inc., et al.,1            )               Case No. 10-11255 (CSS)
                                           )
                     Debtors.              )               Jointly Administered
__________________________________________ )
                                           )
SS Body Armor I, Inc.,                     )               Adv. No. 11-50338 (CSS)
                                           )
                     Plaintiff,            )
                                           )
             v.                            )
                                           )                Ref. Adv. Docket No. 15
D. David Cohen,                            )
                                           )
                     Defendant.            )
                                           )


            ORDER APPROVING DISMISSAL OF ADVERSARY PROCEEDING
                             WITH PREJUDICE

                 Upon consideration of the Certification of Counsel Regarding Order Approving

Dismissal of Adversary Proceeding With Prejudice (the “Certification”)1 filed by the

Debtor/Plaintiff; and the Court having reviewed the Certification; and good cause appearing for

the relief requested therein, it is hereby ORDERED THAT:


                 1. The above-captioned action is dismissed with prejudice.




1
    The pre-confirmation debtors in these cases, and the last four digits of each debtor’s federal tax
identification number, were: SS Body Armor I, Inc. (9361); SS Body Armor II, Inc. (4044); SS Body Armor
III, Inc. (9051); and PBSS, LLC (8203). All correspondence and pleadings for the Debtor must be sent to
SS Body Armor I, Inc., c/o Pachulski Stang Ziehl & Jones LLP, 919 North Market St., 17th Floor,
Wilmington, DE 19801, Attn: Laura Davis Jones.
1
  Capitalized terms used but not otherwise defined in this Order shall have the meanings given to them in
the Certification.


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                 2. The Court retains jurisdiction with respect to all matters arising from or

                      related to the implementation or interpretation of this Order.




         Dated: April 29th, 2021                        CHRISTOPHER S. SONTCHI
         Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE



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